           CASE 0:20-cv-01872-PJS-ECW Doc. 7 Filed 10/22/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
Brandon Ehlis, on behalf of himself and all        )
others similarly situated,                         )    Case No. 20-cv-01872-PJS-ECW
                                                   )
               Plaintiff,                          )     [PROPOSED] ORDER
                                                   )    EXTENDING TIME FOR
v.                                                 )    DEFENDANT TO MOVE,
                                                   )   ANSWER, OR OTHERWISE
DAP Products, Inc.,                                ) RESPOND TO THE COMPLAINT
                                                   )
               Defendant.                          )


         Based upon the stipulation of counsel (Docket No. 6), and all files, records and

proceedings herein, and good cause shown,

         IT IS HEREBY ORDERED:

         Defendant DAP Products, Inc., without waiver of any defense, is granted an

extension through and including November 13, 2020, with which to answer or otherwise

respond to plaintiff's Complaint in this matter.

                                           BY THE COURT:


Dated:
                                           Honorable Elizabeth Cowan Wright
                                           Magistrate Judge of U.S. District Court
